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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA                                )

vs.                                                     )   CRIMINAL ACTION 05-00127-CG

BRYANT WASHINGTON,                                      )

        Defendant.                                      )


                                                 ORDER


        This matter is before the court on defendant’s motion to continue. (Doc. 21). Defendant

requests a continuance because his counsel needs additional time to review and evaluate the discovery

provided by the Government. Defendant also states that his ability to meet with counsel and discuss his

case has been problematic because he resides in Birmingham, Alabama. Defendant also states that

counsel for the Government does not object to the continuance. On June 13, 2005, defendant filed a

signed waiver of his speedy trial rights. (Doc. 24).

        Under these circumstances, the court finds that the ends of justice served by continuing this

action outweigh the best interest of the public and the defendant in a speedy trial. Therefore, for

purposes of the Speedy Trial Act, any delay resulting from this continuance is excludable pursuant to 18

U.S.C. § 3161(h)(8)(A) and (B)(iv).

        Accordingly, the motion to continue is GRANTED (Doc. 21) and this action is continued to

the August 2005 criminal term with jury selection scheduled for August 1, 2005. The pretrial

conference scheduled for June 9, 2005 is canceled.
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        The Clerk of the Court is directed to refer this file to U.S. Magistrate Judge William E. Cassady

to reschedule the pretrial conference.

        DONE and ORDERED this the 14th day of June, 2005.




                                                s / Kristi D. Lee
                                                KRISTI D. LEE
                                                UNITED STATES MAGISTRATE JUDGE
